         Case 4:21-cv-00033-ALM Document 4-11 Filed 02/09/21 Page 1 of 1 PageID #: 383

AO 399 (01/09) Waiver of the Service of Summons




                                      United States District Court
                                                                        for the
                                                          Eastern District of Texas


                       Timothy Jackson
                                                                            )
                              Plaintiff
                                                                            >
                                 v.                                         )     Civil Action No. 4:21 -cv-00033
                      Laura Wright, et al.
                             Defendant                                      )

                                             WAIVER OF THE SERVICE OF SUMMONS


To:   Jonathan F. Mitchell
             (Name of the plaintiffs attorney or unrepresented plaintiff)



        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I. or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

          I also understand that I. or the entity I represent, must file and seive an answer or a motion under Rule 12 within
60 days from                    01/14/2021                  the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


Date • +BOVBSZ 
       January 21,2021
                                                                                  Matthew Bohuslav                     Digitally signed by Matthew Bohuslav
                                                                                                                       Date: 2021.02.05 14:50:08 -06'00'

                                                                                             Signature of the attorney or unrepresented party

                   Benjamin
                   Benjamin S.
                            S. Graf
                               Graf                                                                    .BUUIFX#PIVTMBW
                                                                                                       Matthew Bohuslav
       Printed name ofparty waiving service ofsummons                                                          Printed name
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                                                                                           Office of the Attorney General
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                                                                                           matthew.bohuslav@oag.texas.gov
                                                                                                              E-mail address

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                                                                                                           512.475.4099
                                                                                                            Telephone number


                                            Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 ofthe Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

           "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought hi an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.


           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.



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